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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                  CRIMINAL 06-0210CCC
 1) ANGEL CRUZ-PEREZ
 (Counts 1, 2, 3)
 2) ISRAEL RUIZ-QUIÑONES
 (Counts 1, 2, 3)
 3) CARLOS J. RODRIGUEZ-LUGO
 (Counts 1, 2, 3)
 4) JOSE A. VAZQUEZ-CASTRO
 (Counts 1, 2, 3)
 5) HECTOR COLON-AVILES
 (Counts 1, 2, 3)
 6) LUIS MIGUEL CABALLERO-RUIZ
 (Counts 1, 2, 3)
 Defendants
                                         ORDER
       Having considered the Report and Recommendation filed on April 10, 2007 (docket
entry 123) on a Rule 11 proceeding of co-defendant Israel Ruiz-Quinones held before
Magistrate Judge Marcos E. López on April 3, 2007, to which no opposition has been filed,
the same is APPROVED. Accordingly, the plea of guilty of co-defendant Israel Ruiz-Quinones
is accepted. The Court FINDS that his plea was voluntary and intelligently entered with
awareness of his rights and the consequences of pleading guilty and contains all elements of the
offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since April 3, 2007. The sentencing hearing is set for July 5, 2007
at 4:30 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on April 19, 2007.


                                                  S/CARMEN CONSUELO CEREZO
                                                  United States District Judge
